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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    ) Chapter 11
                                                              )
    YELLOW CORPORATION, et al.,1                              ) Case No. 23-11069 (CTG)
                                                              )
                                                              ) (Jointly Administered)
                                      Debtors.                )
                                                              ) Proposed Hearing Date: On or before September 22, 2023,
                                                                  (subject to Court availability)
                                                              )
                                                              )   Objection Deadline: 4:00 p.m. (ET) two business days prior
                                                                  to the Hearing


                             DEBTORS’ MOTION FOR ENTRY
                           OF AN ORDER (I) SHORTENING THE
                    NOTICE AND OBJECTION PERIOD FOR THE DEBTORS’
                      REAL ESTATE STALKING HORSE MOTION AND
                            (II) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion (this “Motion”):2

                                                 Relief Requested

             1.    The Debtors seek entry of an order (the “Order”), substantially in the form attached

hereto: (a) shortening the notice and objection periods for the Debtors’ Motion for Entry of an

Order (I) Approving the Debtors’ Selection of a Real Estate Stalking Horse Bidder, (II) Approving

Bid Protections In Connection Therewith, and (III) Granting Related Relief (the “Real Estate



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
      of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.

2
      A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
      the Debtors’ chapter 11 cases, is set forth in the Declaration of Matthew A. Doheny, Chief Restructuring Officer
      of Yellow Corporation, in Support of the Debtors’ Chapter 11 Petitions and First Day Motions [Docket No. 14]
      (the “First Day Declaration”). Capitalized terms used but not immediately defined in this Motion have the
      meanings ascribed to them in the Bidding Procedures, the Bidding Procedures Order, or in the First Day
      Declaration, as applicable.



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Stalking Horse Motion”),3 filed contemporaneously herewith, setting the hearing to consider entry

of an order approving the Real Estate Stalking Horse Motion (the “Real Estate Stalking Horse

Order”) on or before September 22, 2023 (as scheduled, subject to Court availability,

the “Hearing”) and setting the objection deadline to the entry of the Real Estate Stalking Horse

Order to 4:00 p.m. (ET) on the date that is two (2) business days prior to the Hearing, and

(b) granting related relief.

                                          Jurisdiction and Venue

        2.       The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012 (the “Amended Standing Order”). The Debtors confirm their consent, pursuant

to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Bankruptcy Local Rules”), to the entry of a

final order by the Court in connection with this Motion to the extent that it is later determined that

the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

        3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




3
    Capitalized terms used but not defined herein have the meanings given to them in the Real Estate Stalking Horse
    Motion or the Real Estate Stalking Horse APA (attached as Exhibit A thereto), as applicable. Any inconsistency
    between this Motion and the Real Estate Stalking Horse APA shall be resolved by reference to the Real Estate
    Stalking Horse APA.


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        4.       The statutory bases for the relief requested herein are sections 102(1) and 105 of

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules

9006(c).

        5.       On August 6, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. These chapter 11 cases have been

consolidated for procedural purposes only and are being jointly administered pursuant to

Bankruptcy Rule 1015(b) [Docket No. 169].

        6.       The Debtors are managing their businesses and their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On August 16, 2023,

the United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an official

committee of unsecured creditors [Docket No. 269] (the “Committee”). No trustee or examiner

has been appointed in these chapter 11 cases.

        7.       On August 7, 2023, the Debtors filed the Debtors’ Motion Seeking Entry of an

Order (I)(A) Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets;

(B) Scheduling an Auction and Approving the Form and Manner of Notice Thereof; (C) Approving

Assumption and Assignment Procedures, (D) Scheduling a Sale Hearing and Approving the Form

and Manner of Notice Therefore; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear

of Liens, Claims, Interests and Encumbrances and (B) Approving the Assumption and Assignment

of Executory Contracts and Unexpired Leases; and (III) Granting Related Relief [Docket No. 22]

(the “Sale Motion”).

        8.       Substantially contemporaneously herewith, the Debtors filed the Real Estate

Stalking Horse Motion. In addition, on September 11, 2023, the Debtors filed a notice with a

revised proposed bidding procedures order and related revised Bidding Procedures [Docket No.



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444] in advance of the September 15, 2023 hearing to consider approval of the bidding procedures

relief in the Sale Motion.

                                          Basis for Relief

        9.       Section 363(b)(1) of the Bankruptcy Code provides that a debtor, “after notice and

a hearing, may use, sell or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b)(1). Section 102(1) of the Bankruptcy Code explains that the phrase

“after notice and a hearing” requires only such notice and opportunity for a hearing as may be

appropriate under the circumstances. 11 U.S.C. § 102(1). Section 105(a) of the Bankruptcy Code

provides that the Court “may issue any order, process, or judgment that is necessary or appropriate

to carry out the provisions” of the Bankruptcy Code. 11 U.S.C. § 105(a).

        10.      Pursuant to Bankruptcy Rule 9007, the Court has authority to regulate the time

within which, the entities to whom, and the form and matter in which, notice shall be given; this

includes the authority to determine appropriate notice for conducting a hearing on the matters

presented by the Real Estate Stalking Horse Motion. Bankruptcy Rule 9006(c) further provides

that the Court “for cause shown may in its discretion with or without motion or notice order the

period reduced.” Fed. R. Bankr. P. 9006(c)(1). In exercising such discretion, the Court should

“consider the prejudice to parties entitled to notice and weigh this against the reasons for hearing

the motion on an expedited basis.” In re Phila. Newspapers, LLC, 690 F.3d 161, 172 (3d Cir.

2012) (noting the commonality of such motions given the accelerated time frame of bankruptcy

proceedings); see also Hester v. NCNB Nat'l Bank (In re Hester), 899 F.2d 361, 364 n.3 (5th Cir.

1990) (“[M]otions for material reductions in the notice period are routinely granted by bankruptcy

courts.”).

        11.      Bankruptcy Local Rule 6004-1(c) provides, in pertinent part, as follows:



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                 The Court will only schedule a hearing to consider approval of
                 bidding and sale procedures in accordance with the notice
                 procedures set forth in Del. Bankr. L.R. 9006-1, unless the
                 requesting party files a motion to shorten notice which may be heard
                 at the first hearing in the case and presents evidence at that hearing
                 of compelling circumstances.

Del. Bankr. L.R. 6004-l(c).

        12.      Bankruptcy Local Rule 9006-l requires “all motion papers shall be filed and served

. . . at least fourteen (14) days prior to the hearing date.” According to Local Rule 9006-1(e),

however, the notice period may be shortened “by order of the Court, on written motion (served on

all interested parties) specifying the exigencies justifying shortened notice.” Del. Bankr. L.R.

9006-1(e). Further, the Court may rule on such motion for shortened notice promptly without need

for a hearing. Id.

        13.      As described in the Real Estate Stalking Horse Motion, approval of the Real Estate

Stalking Horse APA will provide numerous benefits to the Debtors’ estates. The Purchase Price

($1.525 billion) for the Debtors’ Owned Properties (a) exceeds the value of the Debtors’ entire

outstanding prepetition secured capital structure, (b) establishes a substantial price floor for the

Debtors’ Owned Properties in the aggregate, and (c) will be subject to further competitive bidding

under the Debtors’ proposed Bidding Procedures.

        14.      Under the Real Estate Stalking Horse APA, which was negotiated at arms’ length

and in good faith between the Debtors and the Real Estate Stalking Horse Bidder over the course

of several hard-fought weeks, the Real Estate Stalking Horse Bidder may terminate the Real Estate

Stalking Horse APA “if for any reason the SH Approval Date has not occurred on or prior to

September 22, 2023.”         See Real Estate Stalking Horse APA at § 8.1(k) (“Termination of

Agreement”). The SH Approval Date is defined under the Real Estate Stalking Horse APA as the

date of “entry by the Bankruptcy Court of an Order . . . (i) approving Purchaser as the Stalking


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Horse Bidder . . . and (ii) approving the Breakup Fee and Expense Reimbursement . . . .”

Accordingly, the Debtors respectfully request that the Real Estate Stalking Horse Order be entered

on or prior to September 22, 2023 (which is ten (10) calendar days from the filing of this Motion)

to prevent the risk of the Real Estate Stalking Horse Bidder terminating the Real Estate Stalking

Horse APA in accordance with its terms. If such a scenario were to occur, the benefits of the Real

Estate Stalking Horse APA would be lost upon the Debtors, their estates, and their stakeholders.

        15.      The Debtors recognize that, if the relief requested in this Motion is granted, the

Real Estate Stalking Horse Motion would be heard on a compressed timeline. However, the

Debtors believe that having the Real Estate Stalking Horse Bidder in place is important to

maximizing the value of the proceeds to be generated from the Sale (or Sales) of the Debtors’

Owned Properties pursuant to the proposed Bidding Procedures. Further, and importantly, the

Hearing on the Real Estate Stalking Horse Motion will only address the designation of Estes as

the Real Estate Stalking Horse Bidder, the Estes Bid Protections (customary in transactions of this

type and purpose), and related relief, and will not address the ultimate approval of the Sale (or

Sales) of the Debtors’ Assets, including the Acquired Assets under the Real Estate Stalking Horse

APA. Further, as mentioned above, the Debtors believe it is important that the Hearing be set for

before the SH Approval Date to avoid the risk of the Real Estate Stalking Horse Bidder

withdrawing the Real Estate Stalking Horse APA.

        16.      As set forth in the Real Estate Stalking Horse Motion and the Real Estate Stalking

Horse Declaration, the Debtors, with the assistance of their advisors, including Ducera, are

working diligently to secure the highest or otherwise best Bid (or Bids) for their Assets, and will

continue to do so over the coming months pursuant to the proposed Bidding Procedures. The

Debtors’ selection of Estes as the Real Estate Stalking Horse Bidder is an instrumental step in the



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Debtors’ sale process and will set a minimum (and significant) price for the Debtors’ Owned

Properties (taken in the aggregate) prior to the commencement of the Auction (if necessary), which

is scheduled to commence on November 27, 2023 at 2:30 p.m. (ET) under the proposed Bidding

Procedures.

        17.      Additionally, as set forth in the Real Estate Stalking Horse Declaration, providing

the Estes Bid Protections to the Real Estate Stalking Horse Bidder is necessary to induce the Real

Estate Stalking Horse Bidder to subject its offer to other Bids for the Acquired Assets (including

combinations of Bids, if applicable) and are consistent with (if not significantly below) current

market standards. The Debtors are not prejudicing any party with above-market bid protections

that would direct value away from the estates to a stalking horse bidder. To the contrary, the

Debtors submit that the Estes Bid Protections are a reasonable and worthwhile cost to yield the

many benefits provided to the Debtors’ estates by the Real Estate Stalking Horse Bidder.

Accordingly, the Debtors respectfully request that the Hearing be held on shortened notice to lock

in these benefits while avoiding the risk of triggering the Real Estate Stalking Horse Bidder’s

termination right under the Real Estate Stalking Horse APA.

        18.      There is no feasible alternative to the shortened notice period without risking losing

the benefits of the Real Estate Stalking Horse APA. As mentioned, the Real Estate Stalking Horse

APA provides the Real Estate Stalking Horse Bidder with a termination right on September 22,

2023. Moreover, the Debtors have signaled on the record (and, in turn, publicly to the market)

that a stalking horse bid for the Owned Properties in the range of the Purchase Price was being

pursued. Indeed, the Debtors spent several weeks negotiating with both Old Dominion and Estes

regarding a stalking horse bid for the Acquired Assets before determining to pursue the Real Estate

Stalking Horse APA. Proceeding to the Auction without the Real Estate Stalking Horse APA in



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hand would almost certainly send a negative message to the market and other potential bidders

regarding the value of the Debtors’ Owned Properties, to the detriment of the Debtors’ estates and

to potential recoveries.

        19.      The notice period prior to a hearing on approval of a stalking horse and the

provision of bid protections has been shortened by courts in this jurisdiction under similar exigent

circumstances. See, e.g., In re Promise Healthcare Group, LLC, No. 18-12491 (CSS) (Bankr. D.

Del. Feb. 11, 2019) (hearing notice period shortened to three days); In re Cal Dive International,

Inc., No. 15-10458 (CSS) (Bankr. D. Del. June 17, 2015) (hearing notice period shortened to five

days); In re Dendreon Corporation, No. 14-12515 (LSS) (Bankr. D. Del. Jan. 29, 2015) (hearing

notice period shortened to six days); In re Delta Petroleum Corporation, No. 11-14006 (KJC)

(Bankr. D. Del. Mar. 16, 2012) (hearing notice period shortened to six days).4

                                                  Conclusion

        20.      The Debtors submit that the relief requested in the Stalking Horse Motion will

benefit all parties in interest and that shortening the notice period will not unduly prejudice any

party in interest and any such parties will still be provided with an opportunity to be heard on the

Real Estate Stalking Horse Motion. Accordingly, the Debtors submit that, for the reasons set forth

above, shortening the notice for the Hearing to enter the Real Estate Stalking Horse Order is

appropriate in this instance and is in the best interest of all parties.

                                     Local Rule 9006-1(e) Averment

        21.      On September 12, 2023, Debtors’ counsel shared drafts of this Motion and the Real

Estate Stalking Horse Motion with the Office of the United States Trustee (“UST”) and counsel to



4
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.


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the Committee, among other key stakeholders. Neither the UST nor the Committee has taken a

position on the request to shorten notice as of the filing of this Motion.

                                                Notice

         22.     Notice of the hearing on the relief requested in this Motion will be provided by

facsimile, electronic mail (where available), overnight courier or hand delivery, to the following

parties, or in lieu thereof, their counsel, if known: (a) the U.S. Trustee for the District of Delaware;

(b) the Committee; (c) the Prepetition Secured Parties and counsel thereto; (d) the Prepetition UST

Secured Parties and counsel thereto; (e) the Real Estate Stalking Horse Bidder and counsel thereto;

(f) the Junior DIP Secured Parties and counsel thereto; (g) the Postpetition B-2 Secured Parties

and counsel thereto; and (h) any party that has requested notice pursuant to Bankruptcy Rule 2002.

The Debtors submit that, in light of the nature of the relief requested, no other or further notice

need be given.

                                          No Prior Request

         23.     No prior motion for the relief requested herein has been made to this or any other

court.




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        WHEREFORE, the Debtors respectfully request that the Court enter an order, substantially

in the form attached hereto as Exhibit A, respectively, granting the relief requested in this Motion

and granting such other and further relief as is appropriate under the circumstances.


Dated: September 13, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
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